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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division
                                   www.flsb.uscourts.gov


In re:

550 SEABREEZE DEVELOPMENT, LLC                               Case No. 18-12193-RBR
                                                             Chapter 11

            Debtor.
___________________________________/

         DEBTOR’S OMNIBUS RESPONSE TO OBJECTIONS TO SALE MOTION

         550 SEABREEZE DEVELOPMENT, LLC (the “Debtor”), by and through its

undersigned counsel, files this Omnibus Response to the Objections (limited and otherwise) to

the Debtor’s Motion for the Entry of an Order (1) Approving Competitive Bidding and Sale

Procedures for the Sale of Substantially all of Debtor’s Assets, (2) Scheduling Dates to Conduct

Auction and Hearing to Consider Final Approval of Sale, Including the Treatment of Executory

Contracts, (3) Approving the Form and Manner of Notices, (4) Approving the Sale of

Substantially all of the Debtor’s Assets Free and Clear of all Liens, Claims, Encumbrances and

Interests, and (5) Granting Related Relief [ECF No. 72] (the “Sale Motion”), filed by (a) Las

Olas Ocean Resort Partners, LP [ECF No. 105], (b) Certain EB-5 Investors [ECF Nos. 106 and

107], (c) United Forming, Inc. [ECF No. 112] and (d) Master Plaster, Inc. [ECF No. 109].

         In support thereof, the Debtor states as follows:

                                     PRELIMINARY STATEMENT

         On February 26, 2018 (the “Petition Date”), the Debtor filed this chapter 11 case. The

Debtor is the owner of a partially completed, 12 story resort hotel to be known as the “Las Olas

Ocean Resort” located at 550 Seabreeze Boulevard, Fort Lauderdale, Florida (the “550
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Property”). Since the Petition Date, no further construction has occurred on the 550 Property.

Notwithstanding, in order to protect and preserve the 550 Property, the Debtor obtained a DIP

loan in the amount of $560,709 from certain of its owners.

           In addition, since the filing of this chapter 11 case, the Debtor has been working

diligently to locate and develop a solution and exit strategy to this chapter 11 case in respect of

the 550 Property that is in the best interest of all of its stakeholders. To that end, the Debtor has

been able to generate substantial interest in the sale of the 550 Property from a number of

interested parties. In fact, the Debtor has entered into 34 confidentiality and non-disclosure

agreements with interested purchasers and has provided such potential purchasers with access to

a data room full of documents, access to the Debtor’s general contractor, Straticon, LLC and

tours of the 550 Property.

           Based on the level of interest expressed by interested purchasers as well as other factors,

the Debtor decided in the exercise of its best business judgment that pursuing a sale of the 550

Property under Section 363 of the Bankruptcy Code was in the best interest of all of its

stakeholders. In coming to that decision, the Debtor is and has been cognizant of the fact that no

construction has occurred on the 550 Property since late 2017 and, importantly, the fact that the

2018 hurricane season has started, placing the partially completed 550 Property at risk of damage

from exposure to the elements. As such, the Debtor believes that monetizing the 550 Property

as promptly as possible in critical.

           In connection therewith, on June 22, 2018, the Debtor filed the Sale Motion, which is set

for hearing on July 18, 2018 at 10:00 a.m. [ECF No. 76].                      Pursuant to the Sale Motion, the

Debtor seeks the approval of certain Bid Procedures 1 and related protections which will govern


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    Capitalized terms not otherwise defined herein shall have the same meaning as set forth in the Sale Motion.
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the auction and ultimate sale of the 550 Property. Thereafter, the Debtor entered into a stalking

horse asset purchase agreement for the sale of the 550 Property for a purchase price of

$38,600,000 with MHF Properties VI LLC, an affiliate of Magna Hospitality Group (the

“Stalking Horse Bidder”). As a result, on July 18, 2018, the Debtor filed a Supplement to the

Sale Motion [ECF No. 100] seeking approval of the asset purchase agreement with the Stalking

Horse Bidder, together with the approval of certain limited stalking horse protections including a

break-up fee.

       On July 16, 2018, the following four (4) objections were filed to the Sale Motion, each of

which the Debtor addresses and refutes below:

       -   Objection of Las Olas Ocean Resort Partners, LP to the Debtor’s Sale Motion [ECF
           No. 105] (the “Mezz Lender Sale Objection”).

       -   EB-5 Creditors’ Objection to Debtor’s Sale Motion [ECF No. 107] and EB-5
           Creditors Joinder in the Mezz Lender Sale Objection [ECF No. 106] (collectively, the
           “EB-5 Sale Objection”).

       -   Master Plaster, Inc. Limited Objection to Debtor’s Sale Motion [ECF No. 109] (the
           “Master Plaster Sale Objection”).

       -   Limited Objection and Reservation of Rights by United Forming, Inc. to Debtor’s
           Sale Motion [ECF No. 112] (the “United Sale Objection”) (collectively, the
           “Objections”).

       As set forth below in detail, pursuant to Section 363(f) of the Bankruptcy Code, none of

the above Objections prevent the Court from granting the relief sought in the Sale Motion and

Supplement, including approving the Bid Procedures. In fact, at bottom, each of the above

Objections asserts a claim to the proceeds of the sale of the 550 Property, with each objector

asserting different theories of recovery in connection therewith. Depending on the outcome of

the auction proposed in the Bid Procedures, which the Debtor expects to be robust based on the

level of interest shown to date by various interested purchasers, the only legitimate conclusion



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that can be reached is that all parties in interest are best served by proceeding with the sale and

converting the partially-constructed 12 story 550 Property into over $38.6 million in cash (and

hopefully well over $38.6 million), with all of the asserted claims attaching to such proceeds

pending further order of the Court on the disposition of such proceeds and the various priorities

related thereto.

    A. Response and Objection to the Mezz Lender Sale Objection.

        Las Olas Ocean Resort Partners, LP (the “Mezzanine Lender”) filed the Mezz Lender

Sale Objection asserting (i) that the Mezzanine Lender has an “interest” in the 550 Property as

such term is used in Section 363 of the Bankruptcy Code, and (ii) as a result the Debtor cannot

sell the 550 Property free and clear of the Mezzanine Lender’s interest under Section 363(f)

without providing the Mezzanine Lender with adequate protection of such interest. To that end,

the Mezzanine Lender asks the Court to set an evidentiary hearing to determine the value of a

partially constructed unit in the 550 Property because the Mezzanine Lender alleges that it is

entitled to receive a total of 60 of such units.

        The Mezz Lender Sale Objection is misplaced for several reasons. First, as set forth

below, the Mezzanine Lender does not have an “interest” in the 550 Property.           Second, and

importantly, even if the Mezzanine Lender has an “interest” in the 550 Property as such term is

used in Section 363 of the Bankruptcy Code, the Debtor is authorized under Section 363(f) of the

Bankruptcy Code to sell the 550 Property free and clear of any such alleged interest because

such interest (even if it exists) is subject to a bona fide dispute. Specifically, on July 16, 2018,

the Debtor filed an Objection [ECF No. 110] (the “Mezz Lender Claim Objection”) to Proof of

Claim No. 25 (the “Unsecured Claim”) and Proof of Claim No. 26 (the “Secured Claim”), each

filed by the Mezzanine Lender.
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       On June 28, 2018, the Mezzanine Lender filed the Unsecured Claim and the Secured

Claim, each in the amount of $30 million. The Unsecured Claim is “based on a purported

guarantee provided by the Debtor” to the Mezzanine Lender “of certain indebtedness in the

amount of $30,000,000.00….” (emphasis added). See Unsecured Claim, p. 4. To be clear, the

Mezzanine Lender made a loan in the amount of $30 million to an entity known as Las Olas

Mezzanine Borrower, LLC (the “Mezzanine Borrower”). The Mezzanine Borrower is the parent

company of the Debtor. The $30 million loan was not made to the Debtor and despite the

implication to the contrary in the Unsecured Claim and in the Mezz Lender Objection, the

Debtor did not sign a guaranty of such $30 million loan. No such guaranty agreement exits and

the Mezzanine Lender is well aware of that fact.

       With respect to the Secured Claim filed by the Mezzanine Lender, it is based on a

“[c]ontingent secured interest in 60 units at a $500,000 value each”, and the basis for the alleged

perfection of such contingent secured interest is “paragraph 10 of The Bancorp Bank Loan

Agreement.” See Secured Claim, p. 2. 2 As with the Unsecured Claim above, because the Debtor

is not liable on the $30 million loan, the Debtor did not grant any liens on the 550 Property to the

Mezzanine Lender, and there is no document in existence that grants the Mezzanine Lender any

such “secured interest” or that is recorded against the 550 Property that reflects any such

“secured interest.” Rather, the Mezzanine Lender relies on “paragraph 10 of The Bancorp Bank

Loan Agreement” as the basis for its alleged “secured interest.” Notably, the Mezzanine Lender

       2
           As set forth in the Sale Motion, the Debtor and The Bancorp Bank (“Bancorp”) are parties to a
certain Loan Agreement, dated November 1, 2013, as amended and restated on September 2, 2015 and
related collateral documents, pursuant to which Bancorp agreed to loan the Debtor the maximum amount
of $50,000,000.00 in connection with construction on the 550 Property. Pursuant to a certain Mortgage
and Security Agreement (the “Mortgage”), the Debtor granted Bancorp a first mortgage lien and security
interest in, among other things, the 550 Property. On June 28, 2018, Bancorp assigned the its secured
claim, and any other claims it has against the Debtor, to Ocean Hotel Lender, LLC. See Transfer of Claim
other than for Security, ECF No. 86.


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is not a party to such Loan Agreement and the Mortgage in favor of The Bancorp Bank

encumbering the 550 Property does not reference any agreement to provide a security interest or

any units in the 550 Property to the Mezzanine Lender.

       Moreover, the Debtor is not even a party to the operative agreement which forms the

basis of the $30 million loan between the Mezzanine Lender and the Mezzanine Borrower, i.e.

the Mezzanine Loan Agreement. Still further, the Mezzanine Loan Agreement does not mention

the word “guarantee” – by the Debtor or anyone else. 3

       In addition, the Secured Claim filed by the Mezzanine Lender is objectionable as the

conditions precedent to such “secured claim” simply have not and will not occur in this chapter

11 case. As discussed above, the Mezzanine Lender relies on Paragraph 10 of the November 1,

2013 Loan Agreement between the Debtor and Bancorp (to which the Mezzanine Lender is not a

party) (the “Bancorp Loan Agreement”), which provides that “[s]ubject to the satisfaction of the

conditions set forth in this Section 10,” upon the occurrence of an Event of Default, Bancorp

agreed to allow the Debtor to transfer and convey to Mezzanine Lender up to sixty (60) units at

the 550 Property in satisfaction of the obligations of the Mezzanine Borrower. See Secured

Claim, p. 7.

       Further, the Bancorp Loan Agreement provides that the conveyance of the units “shall be

allowed only on the satisfaction of the each of the following conditions”, which include (a)

completion of construction of the project (¶ 10.1), (b) the issuance of a permanent certificate of

occupancy which then remains in effect (¶ 10.1), (c) condominium documents in a form and

substance satisfactory to Bancorp, and creating the number of units acceptable to Bancorp, have

been filed (¶ 10.2), and (d) several other conditions precedent which have not and will not occur

3
  The Mezzanine Loan Agreement states in one of the recital paragraphs that the obligations thereunder
will be secured by a pledge of the Mezzanine Borrower’s ownership interest in the Debtor. Upon
information and belief, no such pledge was executed or otherwise granted.
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in this case (¶¶ 10.4 through 10.8). See Secured Claim, p. 47.

         As set forth in the Sale Motion, the Debtor has commenced a process to sell the 550

Property on an as is, where is basis to the highest and best bidder, subject to this Court’s

approval. The Debtor has not and will not complete construction on the 550 Property, and as a

result the conditions precedent outlined in Paragraph 10 of the Bancorp Loan Agreement will not

be met in this chapter 11 case. The Mezzanine Lender is simply not entitled to receive any units

in the 550 Property.

         Lastly, even to the extent that a written agreement existed whereby the Debtor agreed to

transfer units at the 550 Property to the Mezzanine Lender, there is no security agreement, UCC

filing or other document which states that such obligation is secured by the 550 Property. It is

fundamental that in order for a secured creditor to possess a perfected lien on property of a

debtor, there first must be some document which provides as much. 4

         Based on the foregoing, the Debtor may sell the 550 Property free and clear of any claim

or “interest” of the Mezzanine Lender pursuant to Section 363(f)(4) of the Bankruptcy Code,

with any such claim or “interest” to attach to the proceeds thereof to the extent it exists.

         With respect to the request of the Mezzanine Lender for adequate protection of its alleged

“interest,” the most common form of such adequate protection is for such “interest” to attach to

the proceeds of the sale. See Colliers on Bankruptcy, 16th Ed., ¶363.06[9]. Moreover, it is only

4
  Under both Florida and Pennsylvania law (the Bancorp documents, to the extent applicable, are governed by the
laws of the Commonwealth of Pennsylvania), a lien or a security interest in property requires the existence of an
agreement that creates or provides for a security interest in the collateral. Fla. Stat. § 679.2031(2)(c)(1); Advantage
Funding Corp. v. John Moriarty & Assocs. of Fla., Inc., 2017 WL 3106133, at *5 (S.D. Fla. Apr. 24, 2017);
Lankhorst v. Indep. Sav. Plan Co., 39 F. Supp. 3d 1359, 1363 (M.D. Fla. 2014), aff'd, 787 F.3d 1100 (11th Cir.
2015) (“Under Florida law, a ‘security agreement’ is an ‘agreement that creates or provides for a security interest.’
The purpose of the security agreement is to express the parties' intentions with respect to that interest. Florida law
therefore requires that the security agreement contain a description of the collateral sufficient to ‘reasonably
identif[y] what is described.”); Pennsylvania Statute 13 Pa.C.S. § 9203(a)(3); Chambersburg Tr. Co. v.
Eichelberger, 403 Pa. Super. 199, 205, 588 A.2d 549, 552 (1991)(“An enforceable security interest is created and
attaches when the collateral is in possession of the secured creditor or the debtor signs a security agreement which
contains a description of the collateral, value has been given and the debtor has rights in the collateral.”).

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the “value” of such alleged interest in the 550 Property that is entitled to adequate protection.

See United Sav. Ass’n of Tex. V. Timbers of Inwood Forest Assocs., Ltd. (In re Timbers of

Inwood Forest Assocs., Ltd.), 484 U.S. 365, 108 S. Ct. 626, 98 L. Ed. 2d 740 (1988). As a result,

if the “interest” alleged to exist in the 550 Property by the Mezzanine Lender is junior to the

senior secured debt of the Ocean Hotel Lender LLC, as assignees of The Bancorp Bank, and/or

the Claim of Lien filed by Straticon, LLC, the Debtor’s general contractor, then the “value” of

the Mezzanine Lender’s interest will be a function of the sale price that is ultimately achieved at

the auction proposed in the Bid Procedures, which will be known at the conclusion of the auction

on August 15th. If there is not sufficient value created through the sale process to reach down to

the alleged “interest” of the Mezzanine Lender, then there is no “value” to such interest and

therefore no requirement to pay the Mezzanine Lender adequate protection. If, however, the

Mezzanine Lender’s alleged interest in the 550 Property is established by the Mezzanine Lender

and there is value created sufficient to pay such alleged “interest,” then the alleged “interest” of

the Mezzanine Lender is more than adequately protected if it can assert such interest against the

proceeds of the sale.

        Based on the above, the Mezz Lender Sale Objection should be overruled.

    B. Response and Objection to the EB-5 Sale Objection.

        In the EB-5 Sale Objection, 21 certain EB-5 investors 5 (i) join in the Mezz Lender Sale

Objection, and (ii) argue without any citation to authority that the Stalking Horse Bidder should

be required to amend its Asset Purchase Agreement to include the assumption of certain
                                                                                         6
unspecified obligations under the EB-5 Program related to the 550 Property.



5
 The 21 parties who filed the EB-5 Sale Objection label themselves in the EB-5 Sale Objection as “the EB-5
Creditors.” Despite such self-appointed label, such parties are in fact not creditors of the Debtor.
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         First, the Debtor asserts that the portion of the EB-5 Sale Objection the joins in the Mezz

Lender Sale Objection should be overruled for the same reasons set forth above that the Mezz

Lender Sale Objection should be overruled.                 In particular, as with the Mezz Lender Sale

Objection, the 550 Property may be sold free and clear of any alleged interests of the certain 21

EB-5 Investors (which EB-5 Investors own solely limited partnership interests in the Mezzanine

Lender), pursuant to 11 U.S.C. § 363 (f)(4) because such interests are in bona fide dispute. On

July 17, 2018, the Debtor filed Objections [ECF Nos. 113 and 115 through 118] (the “EB-5

Investor Claim Objections”) to Proof of Claim Nos. 32 through 34, 36 through 46 and 48 through

54 (the “EB-5 Claims”) filed by the 21 EB-5 Investors. 7

         As set forth in the EB-5 Investor Claim Objections, the EB-5 Investors have no claim

against the Debtor – secured, unsecured or otherwise. For the same reason the Mezzanine

Lender does not possess valid claims against the Debtor, the EB-5 Investor Claims also fail. In

fact, the EB-5 Investor Claims are even farther removed than those of the Mezzanine Lender

since such investors only possess limited partnership interests in the entity that loaned funds to

the Mezzanine Borrower (and not the Debtor).

         Further, the EB-5 Investors seek to require the Debtor (and any purchaser of the Debtor),

to complete the project in conformity with the EB-5 Program, including as identified in a

business plan submitted for approval by the U.S. Citizenship and Immigration Services, and to

comply with certain requirements for sharing data, expenditures relating to funds lent to the

Mezzanine Borrower pre-petition, project completion, operation of facilities, employment of



6
  The EB-5 Investors also argue that their alleged loss of permanent residency “cannot be assigned a monetary
value.” However, the EB-5 Investors take an inconsistent position to that assertion in an adversary proceeding they
filed on July 16, 2018 against several parties seeking compensatory damages related thereto [ECF No. 108]
7
 The EB-5 Investor Claims were filed as general unsecured claims, but in the event such claims assert an “interest in
property”, the Debtor filed the EB-5 Investor Claim Objections as any such “interest” is in bona fide dispute.

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works and other matters related with the EB-5 Program. Putting to one side the EB-5 Investors’

lack of standing or any direct claim against the Debtor, the EB-5 Investors provide no legal

support for their proposition – which would inhibit the Debtor’s right, pursuant to the

Bankruptcy Code, to sell the 550 Property to the highest and best bidder, free and clear of liens,

claims and encumbrances. Moreover, the request of the EB-5 Investors to require a buyer to

include such provision in its asset purchase agreement is nothing short of a request for an

extraordinary mandatory injunction in respect of such buyer, which is wholly improper and

unsupported. 8 Finally, any such requirement imposed by the Court would certainly “chill” the

bidding for the 550 Property.

        Based on the foregoing, the EB-5 Sale Objection should be overruled and the Debtor

should be allowed to proceed with the sale of the 550 Property free and clear of any interest of

the EB-5 Investors pursuant to Section 363(f)(4) of the Bankruptcy Code.

    C. Response and Objection to United Sale Objection.

        Pursuant to the United Sale Objection, United Forming, Inc. (“UFI”) asserts that it has a

secured lien on the 550 Property and that the Debtor cannot sell the 550 Property free and clear

of its asserted lien under Section 363(f). The United Sale Objection is misplaced. The Debtor

can sell the 550 Property free and clear of the UFI claim (i) pursuant to 11 U.S.C. § 363 (f)(4)

because the claim of UFI is in bona fide dispute, and (ii) pursuant to 11 U.S.C. § 363 (f)(5)

because UFI could be compelled in a legal or equitable proceeding to accept a money

satisfaction of its interest.

        UFI asserts that it performed certain construction work at the 550 Property and is due the

sum of $862,102.03 (the “UFI Claim”). The Debtor’s general contractor is Straticon, LLC

8
 Nevertheless, in connection with the Debtor’s evaluation at any auction of which bid is the highest and
best bid, the Debtor will consider any aspect of a bid that includes an agreement by a buyer to comply
with the EB-5 Program.
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(“Straticon”). UFI is a subcontractor for Straticon and does not have a contractual relationship

with the Debtor. Straticon filed Claim Number 27-1 in the amount of $8,527,696.26 (the

“Straticon Claim”).    The UFI Claim is completely included within and subsumed by the

Straticon Claim. See Straticon Claim, part 4.

       Straticon has advised the Debtor that it consents to the Sale Motion. Since UFI is a

subcontractor of Straticon, whose claim is completely subsumed and covered by the Straticon

Claim, the consent of Straticon to the sale should be imputed to UFI. As such, the sale free and

clear of UFI’s interest may be approved pursuant to 11 U.S.C. § 363 (f)(2).

       Moreover, on July 17, 2018, the Debtor filed an objection to the UFI Claim on the basis

that such claim is duplicative of the Straticon Claim [ECF No. 119]. Accordingly, the UFI

Claim is in bona fide dispute.

       Lastly, UFI objected to the Sale Motion to the extent that the proceeds are not sufficient

to pay its (duplicative and disputed) claim in full. As this Court has previously stated in In Re

Levitt and Sons, LLC, 384 B.R. 630 (Bankr. S.D. Fla. 2008), a sale free and clear of junior liens

may nevertheless be approved even if the sale proceeds are not sufficient to fully satisfy such

liens pursuant to Section 363(f)(5) of the Bankruptcy Code. In Levitt, this Court stated:

               The Court may also approve a sale free and clear of liens “if such
               entity could be compelled, in a legal or equitable proceeding, to
               accept a money satisfaction of such interest.” 11 U.S.C. §
               363(f)(5). Courts have established that the term “money
               satisfaction” does not mean “full money satisfaction”. In re Grand
               Slam U.S.A., 178 B.R. 460, 461 (E.D.Mich.1995)(holding that
               requiring full money satisfaction “is inconsistent with the
               Bankruptcy Code”); In re Healthco Int’l, Inc., 174 B.R. 174, 176
               (Bankr.D.Mass.1994)(Construing “money satisfaction of such
               interest” appearing in subparagraph (f)(5) to mean a payment
               constituting less than full payment of the underlying debt. Because
               any lien can always be discharged by full payment of the
               underlying debt, there would be no sense in subparagraph (f)(5)
               authorizing a sale only if that could be done.). Thus, this Court


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               could approve sales pursuant to § 363(f)(5) provided that a legal or
               equitable proceeding existed that could force a junior lien holder to
               accept a payment of less than the full amount of the security
               interest.

               It is important to focus on the hypothetical nature of language of §
               363(f)(5). The section provides that as long as the junior interest
               “could be compelled” it is sufficient to authorize a § 363(f)(5) sale.
               There is no requirement that the legal or equitable proceeding
               compelling the acceptance of less than full value actually occur
               prior to the § 363(f)(5) sale, or if at all. Furthermore, if the “legal
               or equitable proceeding” contemplated by § 363(f)(5) would result
               in the junior lien holder receiving nothing, then a § 363(f)(5) sale
               that pays them nothing or gives them an unsecured claim to be
               redeemed for some dollar amount would appear to be permissible.
               See e.g. Scherer v. Federal Nat’l Mortgage Ass’n (In re Terrace
               Chalet      Apartments      Ltd.),      159      B.R.    821,      829
               (N.D.Ill.1993)(adopting the view “authoriz[ing] the sale and
               consequent lien extinguishment if the creditor could be crammed
               down pursuant to Section 1129(b)(2)”); In re Gulf States Steel, 285
               B.R. 497, 508 (Bankr.N.D.Ala.2002)(noting that “Section
               363(f)(5) permits a sale free and clear if the trustee can
               demonstrate the existence of another legal mechanism by which a
               lien could be extinguished without full satisfaction of the secured
               debt.”).

Id. at 648.

        Because UFI could be compelled to accept a money satisfaction of its interest in a legal

or equitable proceeding (such as a foreclosure sale), the Sale Motion can be approved over the

United Sale Objection pursuant to 11 U.S.C. § 363 (f)(5).

    D. Response and Objection to the Master Plaster Sale Objection.

        As to the Master Plaster Sale Objection, the Debtor asserts that the 550 Property may be

sold free and clear of the liens and claims of Master Plaster, Inc. (“Master Plaster”) for the same

reasons it may be sold free and clear of the liens and claims of UFI. Master Plaster is a

subcontractor of Straticon, and its claim is completely subsumed and covered by the Straticon

Claim. See Straticon Claim, part 4. Straticon consented to the sale, and such consent should be
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imputed to Master Plaster. The Debtor also objected to the duplicative claim of Master Plaster

[ECF No. 120]. Lastly, Master Plaster could be compelled in a legal or equitable proceeding to

accept a money satisfaction of its interest.

       Accordingly, the Sale Motion may be approved free and clear of any interest of Master

Plaster pursuant to 11 U.S.C. § 363 (f)(2), (4) and (5).

       WHEREFORE, the Debtor respectfully requests that this Court enter an Order (i)

overruling the Objections described herein, (ii) granting the Sale Motion as modified by the

Supplement, and (iii) granting such other and further relief as is proper.

                                               Respectfully submitted on July 17, 2018.

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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 17th
day of July, 2018 to all interested parties registered to receive e-mail notice/service for this case,
via the CM/ECF Notice of Electronic Filing and/or via U.S. Mail as indicated on the attached
Service List.


                                                By:    /s/     Paul J. Battista
                                                       Paul J. Battista, Esq.


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Notice will be electronically served via CM/ECF to:
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